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       In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                          No. 13-489V
                                   Filed: November 20, 2015

* * * * * * * * * * * * * * * *                             UNPUBLISHED
MICHAEL MCNULTY and CATHERINE *
MCNULTY, as parents of W.T.M., *
                               *                            Special Master Gowen
          Petitioners,         *
                               *                            Joint Stipulation on Damages and
v.                             *                            Attorneys’ Fees and Costs;
                               *                            Varicella Vaccine; Inactivated Polio
SECRETARY OF HEALTH            *                            Vaccine; Measles-Mumps-Rubella
AND HUMAN SERVICES,            *                            Vaccine; Cerebrovascular Event;
                               *                            Diphtheria-Tetanus-acellular
          Respondent.          *                            Pertussis Vaccine.
                               *
* * * * * * * * * * * * * * * *

Mark L. Krueger, Krueger & Hernandez, S.C., Baraboo, WI, for petitioner.
Lara A. Englund, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On July 18, 2013, Michael McNulty and Catherine McNulty (“petitioners”) filed a petition
on behalf of their minor child, W.T.M., pursuant to the National Vaccine Injury Compensation
Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioners alleged that as a result of receiving
inactivated polio (“IPV”), diphtheria-tetanus-acellular pertussis (“Dtap”), varicella, and measles-
mumps-rubella (“MMR”) vaccines on or about June 14, 2012, the minor child suffered a
cerebrovascular incident and that he experienced residual effects of this injury for more than six
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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months. Stipulation for Award at ¶ 2, 4, docket no. 48, filed Nov. 19, 2015.

        On November 19, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the vaccines caused W.T.M.’s
alleged cerebrovascular incident, or any other injury or condition. Id. at ¶ 6. Nevertheless, the
parties agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the terms
set forth therein.

        The parties also stipulate to an award of attorneys’ fees and costs in a joint stipulation for
fees and costs filed on November 19, 2015. The parties agree to a total award of attorneys’ fees
and costs in the amount of $35,135.53. Stipulation for Fees at ¶ 2, docket no. 49, filed Nov. 19,
2015. In accordance with General Order #9, petitioners represent that they did not personally incur
costs related to this proceeding. Id. The undersigned finds the stipulation for fees and costs
reasonable and adopts it as the decision of the Court.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $425,000.00, in the form of a check payable to petitioners as guardians
       of W.T.M.’s estate. This amount represents compensation for all damages that would
       be available under 42 U.S.C. § 300aa-15(a).

       A lump sum of $35,135.53, in the form of a check jointly payable to petitioners and to
       petitioners’ attorney, Mark L. Krueger of Krueger & Hernandez, S.C., pursuant to
       42 U.S.C. § 300 aa-15(e), for attorneys’ fees and costs.

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioners’ compensation and
attorneys’ fees and costs. Accordingly, the clerk of the court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

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MICHAEL AND CATHERINE MCNULTY,                        *
AS PARENTS OF W.T.M.                                  *
                     Petitioner,                      *
                                                      *
v.                                                    *              No. 13-489
                                                      *          Special Master Thomas Gowen
SECRETARY OF HEALTH AND                               *
HUMAN SERVICES,                                       *
                                                      *
                               Respondent.            *

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 STIPULATION OF FACTS CONCERNING FINAL ATTORNEYS’ FEES AND COSTS

        It is hereby stipulated by and between the parties, the following factual matter:

     1. Mark L. Krueger, Esq., is the attorney of record for petitioners.

     2. On or about October 7, 2015, petitioner informally provided a Final Application for
        Attorneys’ Fees and Costs (“Application”) to respondent, in which petitioner requested
        final attorneys’ fees and costs in the amount of $35,135.53. Respondent does not object
        to the total amount requested. All costs have been paid by Petitioner’s attorney.

     3. The parties now agree that a decision should be entered awarding final attorneys’ fees
        and costs payable to petitioner’s attorney and petitioner in the amount of $35,135.53.

     4. Nothing in this Stipulation, including the amount set forth in paragraphs 2 and/or 3,
        should be construed as an admission, concession, or waiver of either party as to any of
        the matters raised by petitioner’s Application, including but not limited to the hourly rates
        requested and other litigation-related costs.
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ATTORNEY OF RECORD FOR                   ATTORNEY OF RECORD FORD
PETITIONERS:                             RESPONDENT:


s/Mark L. Krueger                        s/Lara A. Englund
Mark L. Krueger                          Lara A. Englund
123 2nd Street                           Trial Attorney
P.O. Box 41                              Civil Division, Torts Branch
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(608)356-3961                            Benjamin Franklin Station
                                         Washington DC 20044-0146

Date: November 19, 2015
